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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                              )
 JUAN HERNANDEZ and ROSENDO                   )
 HERNANDEZ,                                   )   Case No. 23-cv-01737
                                              )
 Plaintiffs,                                  )   Judge Jeremy C. Daniel
                                              )
 v.                                           )   Magistrate Judge Heather K. McShain
                                              )
 REYNALDO GUEVARA, et. al.,                   )
                                              )   JURY TRIAL DEMANDED
 Defendants.                                  )
                                              )
                                              )


      MOTION TO COMPEL DEFENDANTS TO PROCEED WITH THIRD PARTY
                           DEPOSITIONS


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                                           INTRODUCTION
        Plaintiffs Juan and Rosendo Hernandez, by and through their undersigned counsel,

respectfully move this Court to: (a) compel Defendants to provide dates of availability for the

depositions of Daniel Violante, Jesus Gonzalez, Jose Gonzalez, Juan Cruz, Marybel Arroyo, Nancy

Gonzalez, Nelson Pacheco, Jondalyn Fields, and Fred Rock; and (b) affirm that Plaintiffs may question

those deponents first at the deposition.

        Plaintiffs file this motion with a simple request: to apply the Federal Rules of Civil Procedure

in straightforward fashion and permit Plaintiffs to go forward with the depositions of these third party

witnesses they prioritized for service, out of the dozens of witnesses in the case.

        The central dispute is questioning priority. Plaintiffs’ position is that they should get to go first

because they subpoenaed and noticed the depositions first. Even if the equities of each witness are

considered, they are all witnesses Plaintiffs will call in their case-in-chief, and so Plaintiffs will be

prejudiced if they are unavailable for trial and Plaintiffs are forced to present deposition testimony in

which Plaintiffs were not able to question the witnesses first. Indeed, at least two of these witnesses

are out of state (one out of country), and so without going first Plaintiffs cannot ensure that they have

a deposition transcript that could be read coherently to a jury.

        There is no basis to switch the order of questioning of these witnesses. Defendants say that

“witness alignment” should determine questioning priority, whereby a party should get to depose

witnesses that are “hostile” to them. But even that vague criterion does not favor Defendants, as

nearly all the others are “hostile” to Plaintiffs: eyewitnesses who identified Plaintiffs in police lineups

and testified against them at trial. Regardless, during the conferral process Defendants identified which

of the witnesses that Plaintiffs served first they believed they nonetheless should get to question first.

They listed only four (Daniel Violante, Nelson Pacheco, Jondalyn Fields, and Fred Rock) of the nine

witnesses that Plaintiffs had served. Although that should have presumably narrowed the range of


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disputes, so that Plaintiffs could go forward with the five remaining depositions while the parties

confer about their remaining disputes, Defendants refused to permit the depositions to go forward or

to offer dates of availability. The Court should require Defendants to propose dates for the five

witnesses over which there is no dispute (Jesus Gonzalez, Jose Gonzalez, Juan Cruz, Marybel Arroyo,

Nancy Gonzalez), and resolve on the merits the parties’ dispute over the remaining four depositions.

       The conferral process on this issue has been lengthy. Plaintiffs have made every effort to

confer and reach compromises on both questioning order and timing of these depositions, but those

efforts have not succeeded. More than three months after the conferral process began, Defendants

keep moving the goalposts, Defendants refuse to propose deposition dates, and depositions are

delayed indefinitely. The parties are now at impasse.

            STATEMENT OF FACTS AND LOCAL RULE 37.2 STATEMENT
       A. Plaintiffs serve deposition subpoenas and seek to question those witnesses first
          based on first service.
       This case has been ongoing since March 2023, and discovery commenced thereafter. Dkt. 1.

Plaintiffs issued written discovery in July 2023, Defendants issued their own written discovery

thereafter, and the parties collectively identified dozens of witnesses on their Rule 26 disclosures in

July and August 2023.

       To ensure that Plaintiffs could timely question critical third-party witnesses that they intend

to call in their case-in-chief, Plaintiffs prioritized serving the witnesses with deposition subpoenas.

Specifically, months after discovery had commenced—on August 25, August 28, and September 5—

Plaintiffs provided Defendants with proper notice of subpoenaed depositions for witnesses Nelson

Pacheco, Daniel Violante, Juan Cruz, Jesus Gonzalez, Marybel Arroyo, Nancy Gonzalez, Jose

Gonzalez, Jondalyn Fields, and Fred Rock, along with proofs of service. Violante, Cruz, Jesus

Gonzalez, Arroyo, Nancy Gonzalez, and Jose Gonzalez are third-party witnesses who participated in

line-ups and testified against Plaintiffs in their underlying criminal proceedings, and their testimony

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was used to convict Plaintiffs prior to the reversal of their convictions. Fields and Rock are third-party

witnesses to statements made by Defendants to frame Plaintiffs and have knowledge of Defendants’

conduct. Pacheco is an eyewitness who identified the real killer and is critical to Plaintiffs’ case-in-

chief for demonstrating the identifications of Plaintiffs were false.

        Plaintiffs informed Defendants that the noticed dates were placeholders, and that, if

Defendants were unavailable, Plaintiffs were willing to work with Defendants to ensure that the

depositions took place on dates convenient to the witnesses and all counsel. See Group Exhibit 1 (Aug

28 email of A. Swaminathan). Plaintiffs asked Defendants to provide their availability on the

subpoenaed dates and provide alternatives as requested. Id.

        B. Defendants lodge an across-the-board objection to all depositions served by
           plaintiffs in seven Guevara cases and claim “witness alignment” should dictate
           questioning priority.
        After receiving Plaintiffs’ deposition notices, Defendants did not provide their availability or

propose alternative dates, as requested. Rather, in early September, Defendants—along with the

defendants in other recent Guevara cases (represented by the same sets of counsel for the City and its

officers)—lodged an across-the-board objection to all of the depositions subpoenaed and noticed in

August and September 2023 by the Guevara plaintiffs in seven cases. 1 The Guevara defendants

claimed that the depositions in this case could not go forward because they disputed—across all seven

cases—that the plaintiffs were entitled to question first any witnesses they had served and noticed.

        At the same time, Defendants in this case and other recent Guevara cases sent out their own

deposition notices for additional witnesses (without underlying service of deposition subpoenas).

Defendants in this case noticed depositions (without service) for five additional witnesses. 2




1 The seven Guevara-related lawsuits are for the following plaintiffs: (1) Gamalier Rivera, (2) Eruby Abrego,
(3) John Martinez, (4) Juan & Rosendo Hernandez, (5) Edwin Davila, (6) Julio Lugo, and (7) Johnny Flores.
2 Notably, none of the defendants in any of the seven recent Guevara case have provided any proof of service

for any depositions. Thus, Plaintiffs assume that their noticed witnesses have not yet been served.

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        Plaintiffs, along with the other Guevara plaintiffs, explained their position that service of a

deposition subpoena determined questioning priority, and that they had served the witnesses first.

Group Exhibit 1 (Sept. 5 Email of A. Swaminathan; Sept. 12 Email of A. Swaminathan). Plaintiffs

further explained that even if the equities as to each witness were considered individually, they weighed

in their favor, as they had (a) served and noticed the depositions first; (b) intended to call those

witnesses in their case-in-chief; (c) doing so would aid the jury’s comprehension of the evidence at

trial should the witnesses become unavailable, and/or (d) the third-party witnesses had given

testimony against them in their criminal case, or participated in the police investigation against them.

        During the parties’ first meet and confer on October 5, Defendants articulated their view that

“witness alignment,” and not service of a deposition subpoena or notice of a deposition, should dictate

questioning priority across all the Guevara cases. Group Exhibit 1 (Oct. 5 Email of A. Swaminathan).

Despite repeated requests, Defendants refused to identify which depositions the Guevara plaintiffs

served and noticed that Defendants objected to on “witness alignment” grounds, including whether

that included some or all of the nine witnesses Plaintiffs have served and noticed first in this case.

        C. Defendants refuse to proceed with the depositions Plaintiffs served and noticed
           absent an across-the-board agreement on depositions in all seven Guevara cases.
        Defendants refused to proceed with any depositions without a global agreement. E.g., Group

Exhibit 1 (Aug. 31, Sep. 8, Sep. 15, Sep. 22 Emails of T. Scahill). The parties thus exchanged emails

and conferred for an additional two months. Group Exhibit 1 (Sep. 22 through Dec. 1 Emails).

Defendants first insisted on an exchange of lists of served and/or noticed witnesses on which each

party claimed questioning priority. Group Exhibit 1 (Sep. 22 Email of T. Scahill). Plaintiffs expressed

concern that the exchange would serve only to delay negotiations, but agreed to proceed as Defendants

wanted. Group Exhibit 1 (Oct. 5 Email of A. Swaminathan). The parties exchanged lists on October

11. Group Exhibit 1 (Oct. 11 Email of A. Swaminathan; Oct. 11, 2023 Email of A. Romelfanger).

        Anticipating more delay, before the parties’ conferral Plaintiffs had asked Defendants in

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advance to “be ready to discuss compromises and agreements to get to resolution, now that the parties

have exchanged lists.” Group Ex. 1 (Oct. 18 Email of A. Swaminathan). Yet on the call, even though

the Guevara plaintiffs proposed trades, the Guevara defendants stated they needed additional time to

confer internally before negotiation. Group Ex. 1 (Oct. 20 Email of A. Swaminathan). More than a

week passed without Defendants providing dates for another call, despite Plaintiffs’ requests. Id. (Oct.

26 Email of A. Swaminathan) (“Counsel, we have been extremely patient. By tomorrow, please

provide dates you are available early next week.”).

        On October 27, Defendants finally responded, but rather than offer dates or specific witness

compromises, proposed an entirely different process: a draft, during which the parties would alternate

requests for depositions that Plaintiffs had prioritized for service, without regard for Plaintiffs’ timely

service of subpoenas for witnesses key to their case-in-chief, and also without regard for “witness

alignment.” Group Ex. 1 (Oct. 27, Email of T. Scahill). After additional defense delay (Group Ex. 1

(Oct. 27 Email of T. Scahill to Nov. 7 Email of T. Carney), during a November 7 conference, Plaintiffs

objected to the draft proposal as prejudicial, and Defendants finally agreed to commence witness-

specific negotiations. Group Ex. 1 (Nov. 8 Email of R. Brown).

        Despite repeated requests by Plaintiffs, Defendants did not provide dates of availability for a

next conference until November 15. See Group Ex. 1 (Nov. 15, Email of T. Carney). The parties

conferred on November 16, during which time Plaintiffs proposed certain trades and the parties

agreed to exchange written proposals on November 17. Defendants offered a single global resolution

in their November 17 proposal. Group Ex. 1 (Nov. 17, Email of T. Scahill). The Guevara plaintiffs

provided a comprehensive November 17 proposal that included a global resolution, as well as

numerous individual case resolutions, including in this case. See Group Ex. 1 (Nov. 17 Email of A.

Swaminathan). After multiple requests by the Guevara plaintiffs, the Guevara defendants finally

responded on December 1 with a blanket rejection, indicating that they would not agree either to the


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global or individual proposals, declining to propose any counters, and stating that the parties were at

impasse. Group Ex. 1 (Dec. 1 Email of T. Scahill).

        D. Defendants’ own proposals for resolution have not claimed Cruz, Arroyo, N.
           Gonzalez or either J. Gonzalez for their side, and Defendants’ proposal includes a
           one-for-one exchange in this case that Plaintiffs accepted.
        Notably, none of the parties’ proposals have allocated Jesus Gonzalez, Jose Gonzalez, Juan

Cruz, Marybel Arroyo, and Nancy Gonzalez. For their part, in each of Defendants’ proposals, they

have not claimed they should be entitled to question any of them first. See Group Ex. 1 (November

17 Email of T. Scahill; Nov. 8 Email of T. Scahill; Oct. 11 Email of A. Romelfanger) (stating only that

Defendants wanted questioning priority over Fred Rock, Jondalyn Fields, Nelson Pacheco, and Daniel

Violante). So, from Plaintiffs’ perspective, there does not appear to be any dispute regarding those

five witnesses, and Plaintiffs should be permitted to go forward with those depositions. Yet,

Defendants refuse to go forward with their depositions.

        Regarding the remaining four witnesses in dispute, Plaintiffs’ November 17 proposal included

an offer that, for two of the four witnesses Defendants sought to question first, Defendants could go

first: Jondalyn Fields and Nelson Pacheco. Plaintiffs sought nothing in exchange; that is, of the five

additional witnesses Defendants noticed, Plaintiffs were not seeking to go first with any of them.

Instead, to reach a compromise and move forward, Defendants could go first with all five witnesses

they noticed (without service), plus two witnesses Plaintiffs served and noticed; and Plaintiffs would

go first with the seven remaining witnesses they had noticed and served first, i.e., seven per side. Group

Ex. 1 (Nov. 17 Email of A. Swaminathan). Defendants’ December 1 email rejected that agreement.

        E. Defendants have refused to provide a timeline for when they agree depositions
           can proceed.
        Defendants have also stated vaguely with respect to all depositions, across all the Guevara

cases, that they cannot go forward “until we obtain the documents necessary for us to examine these

witnesses from entities such as the State’s Attorney, defense attorneys, Cook County Clerk and Court

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Reporters.” Group Ex. 1 (Oct. 11 Email of A. Romelfanger). In response, Plaintiffs have repeatedly

explained that they were amenable to Defendants’ thoughts regarding when to conduct the specific

depositions of certain witnesses, but that they would not agree to indefinitely delay all depositions

given how long this case has been in discovery, the current discovery deadline, and Defendants’ delay

in seeking discovery that they now claim is critical to proceed with depositions. To date, Defendants

still have not identified specific depositions that they insist should be delayed, or provided particular

reasons, or offered their own proposed timeframe for the depositions. Group Ex. 1 (Oct. 13 Email

of R. Brown) (“[A]s we have indicated repeatedly, we are willing to work with you as to dates, but we

need your cooperation in disclosing availability, regardless of who questions first at the deposition.”).

        Instead, the Guevara defendants have simply self-helped themselves to a months-long delay

in proceeding with depositions. After more than three months of trying to work with Defendants to

reach a compromise so these depositions can proceed, the parties are at impasse. 3

                                                 ARGUMENT
        Plaintiffs have served the witnesses at issue first, and to meet their burden are likely to call

every one of these witnesses in their case-in-chief. Every legal principle that potentially applies here

justifies Plaintiffs questioning these witnesses first. Accordingly, this Court should compel Defendants

to provide dates of availability for the depositions of Daniel Violante, Jesus Gonzalez, Jose Gonzalez,

Juan Cruz, Marybel Arroyo, Nancy Gonzalez, Nelson Pacheco, Jondalyn Fields, and Fred Rock

without further delay; and affirm that Plaintiffs may question those deponents first at the deposition.

   I.   Plaintiffs served first and so should be permitted to question these witnesses first.
        Plaintiffs’ position is simple: for the witnesses Plaintiffs have prioritized and served first, they

should be able to question them first. Courts adjudicating similar disputes have appropriately rewarded




3 This dispute is being litigated across the various cases involving Defendant Guevara that were filed in early

2023, and Plaintiffs’ counsel is filing nearly identical motions to this one across those cases.

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the diligence of the party that has gone out and perfected service of a subpoena on a witness, allowing

them to question first. See, e.g., Occidental Chem. Corp. v. OHM Remediation Services, 168 F.R.D. 13, 14

(W.D.N.Y. 1996) (holding that where two subpoenas were served, the first served took priority).

Plaintiff seeks to apply that simple principle here, and on that basis the motion should be granted.

        To be clear, Plaintiffs’ position is that service—not notice—should control the sequence of

questioning. If notice controlled, then in each case a party could simply send out a notice for all of the

important witnesses in the case and go first. Taken to its extreme, it would be a race to see which party

was quicker to push “Send” after completing the Rule 26(f) conference, or perhaps which party’s

packets of email data happened to traverse the internet faster. Or, a party could simply notice as many

depositions as it likes and then indefinitely delay (or fail) in serving them, self-helping themselves to

delay and/or the strategic sequencing of depositions as they choose.

        Both the Federal Rules and caselaw recognize the problem with relying on notice, making clear

it is not the favored approach. See Fed. R. Civ. P. 26, 1970 Committee Comments (“This new provision

is concerned with the sequence in which parties may proceed with discovery and with related problems

of timing . . . . A priority rule developed by some courts, which confers priority on the party who first

serves notice of taking a deposition, is unsatisfactory in several important respects . . . . Subdivision

(d) is based on the contrary view that the rule of priority based on notice is unsatisfactory and unfair

in its operation.”); Lumpkin v. Kononov, 2013 WL 1343666, at *1 (N.D. Ind. 2013) (“Under the federal

rules, a discovery priority is not established based upon which party noticed a deposition first.”); U.S.

v. Bartesch, 110 F.R.D. 128, 129 (N.D. Ill.,1986) (“[I]t is clear that the priority rule, which confers

priority on the party who first serves notice of taking a deposition, is abolished by Rule 26(d).”).

        Moreover, Defendants have rejected Plaintiffs’ offer—purely for purposes of achieving a

global compromise, not based on governing law—that the parties agree that first notice governs

deposition priority. Thus, no party argues in this litigation that first notice should dictate.


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        Nevertheless, to the extent courts sometimes look to notice to govern the order of

questioning, see e.g., Tate v. City of Chicago, No. 18 C 7439, 2020 WL 5800817, at *2 (N.D. Ill. Sept. 29,

2020), Plaintiffs first noticed the depositions of the nine witnesses at issue in this motion. So, applying

a criterion based on notice also supports Plaintiffs questioning these third-party witnesses first.

   II. The equities favor Plaintiff questioning these witnesses first.
        Even applying a case-by-case consideration of the equities, Plaintiffs should get to question

each of these witnesses first. First, Plaintiffs bear the burden of proof, and intend to call each of these

witnesses in their case-in-chief at trial, cross-examining them where necessary about their past

statements procured during Defendants’ investigation. Federal Rule of Civil Procedure 30(c) dictates

that “[t]he examination and cross examination of a deponent proceed as they would at trial under the

Federal Rules of Evidence, except Rules 103 and 615.” Fed. R. Civ. P. 30(c)(1). On this basis alone,

Plaintiffs should be permitted to question these witnesses first at a deposition.

        Second, Plaintiffs should be allowed to question the witnesses first because it will aid the jury’s

comprehension of the evidence at trial. In the event that these witnesses are unavailable for trial, their

deposition testimony may be read at trial in lieu of live testimony. If Defendants have questioned first,

and Plaintiffs second, then the testimony will be backwards and will need to be heavily edited for trial.

In such circumstances, judges in this District repeatedly have allowed plaintiffs to question witnesses

first, even when they have not first served them or noticed their depositions. E.g., Group Ex. 2, Walker

v. Burge, No. 21 C 4231 (N.D. Ill.), Dkt. 222 (joint statement of dispute) & Dkt. 223 (Order of July 7,

2023); Group Ex. 3, Rivera v. Guevara, No. 12 C 4428 (N.D. Ill.), Trans. Of March 12, 2013 Hrg. &

Dkt. 54 (Order of March 12, 2013). In Rivera, Judge Rowland specifically focused on the plaintiff’s

burden to prove his case and on the importance of the third-party witness at issue over all other

collateral issues. See Ex. 3, at 14:10-12 (finding that despite the fact defendants first served the

deposition subpoena, the Court was “really concerned that [Plaintiff] has the burden [] and [this


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witness was] going to be probably the most important witness in the case.”). Accordingly, even using

Defendants’ preferred framework for deciding, Plaintiffs would have priority to question these

witnesses first.

        Indeed, this dispute is being litigated across the various cases involving Defendant Guevara

filed in early 2023, and Plaintiffs’ counsel is filing nearly identical motions across those cases. Across

these cases there are several key third-party witnesses that are out of state or move regularly. Elderly

witnesses are also a central concern, as this case arises from a criminal investigation and prosecution

that commenced many decades ago. Such witnesses are likely, and in some cases certain, to be

unavailable for trial, and thus their deposition testimony will be what the jury hears. In Plaintiffs’

experience, a deposition in which Defendants question first, eliciting the witness’s testimony after long

periods of questioning on background and other extraneous matters, and in non-chronological order,

after which Plaintiffs follow up with questions, will create a transcript that is disjointed and confusing

to the jury. Plaintiffs would be severely prejudiced, effectively prevented from presenting critical

testimony to the jury in a clear and coherent fashion during their case-in-chief.

        On the facts of this case, there are several witnesses for whom we know this will be an issue:

Nancy Gonzalez lives out of state, and Fred Rock lives out of the county, so it is all but certain that

neither of them will be available for trial. Both are witnesses Plaintiffs will call in their case-in-chief.

Ms. Gonzalez was the victims’ sister, and purportedly identified them in police lineups and testified

against them at trial. It is critical to Plaintiffs to be able to present the jury with the unreliability of her

identification, including the circumstances in which it occurred. Fred Rock is particularly important to

presenting Plaintiffs’ theory about why they were wrongfully targeted and framed by Defendants

Guevara and Miedzianowski. More specifically, Defendant Miedzianowski is now serving a life

sentence in federal prison for running a criminal enterprise out of the Chicago Police Department; the

United States’ star witness against Miedzianowski was Fred Rock, who had been working with him in


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the drug trade. Fred Rock has testified that just a few weeks before Plaintiffs were arrested and charged

for murder, Defendant Miedzianowski told Defendant Guevara, in the presence of Fred Rock, to

frame Juan Hernandez for a murder. Mr. Rock is thus critical to presenting Plaintiffs’ theory, and it is

critical that Plaintiffs depose him first, because that will almost certainly also be his trial testimony.

        Third, in most cases, the witnesses at issue are aligned with Defendants, as they either provided

a statement to the police incriminating Plaintiffs, testified against Plaintiffs in their criminal case, or

are hostile to Plaintiffs, which are recognized reasons to let Plaintiffs question them first at their

depositions. See Lumpkin v. Kononov, 2013 WL 1343666, at *1 (N.D. Ind. Apr. 3, 2013) (“[T]he party

whose witness is being deposed generally knows what the witness’s testimony will be, and the purpose

of the deposition is to allow the other side to find out what the witness knows about the matter.”). In

some cases, the witnesses have recanted their prior statements incriminating Plaintiffs, but that does

not alter the equities; Defendants will still use their past statements and testimony to impugn Plaintiffs

and use these witnesses to elicit testimony against Plaintiffs. Group Ex. 2 at 15. And again, regardless

of whether these witnesses later recanted or not, Plaintiffs will call them in their case-in-chief.

        Applying these factors here, the equities also favor Plaintiffs being able to question these

witnesses first. The eyewitnesses at the scene of the shooting, Daniel Violante, Juan Cruz, Marybel

Arroyo, Nancy Gonzalez, and Jose Gonzalez were all close friends and/or family of the victim. All of

them, other than Marybel Arroyo, identified Plaintiffs in police lineups, and testified against Plaintiffs

in their criminal proceedings. With the exception of Daniel Violante, none of these witnesses have

recanted prior testimony incriminating Plaintiffs, and remain “hostile.” 4 Mr. Violante recanted his

testimony at Plaintiffs’ post-conviction hearing, and thus he has provided testimony both favorable

and unfavorable to both sides. And meanwhile he is a critical witness that Plaintiffs will certainly call


4 Defendants appear to concede that Plaintiffs should get to question these witnesses first, other than Daniel
Violante, as they did not identify them on their list of witnesses that Plaintiffs had served, that Defendants
wanted to question first.

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in their case-in-chief. If he were to become unavailable, Plaintiffs would be severely prejudiced if they

could not preserve his testimony, in an organized and coherent fashion, by conducting an initial trial

exam. None of them are related to, or had any prior relationship with, Plaintiffs. Meanwhile, Jondalyn

Fields corroborates Rock’s testimony about Defendants Guevara and Miedzianowski’s plan to frame

Plaintiffs, and Pacheco will testify about who the true perpetrator of the crime was. These are all

critical witnesses in Plaintiffs’ case-in-chief.

        Finally, we note that Plaintiffs’ and Defendants’ counsel in this case have all litigated against

each other in many other cases. And it is true that in various cases, the attorneys on both sides of this

case have taken the contrary position on this issue. See, e.g., Reyes v. Guevara, No. 18 C 1028 (N.D. Ill.)

(Dkt. 140) (the law firms representing the Defendants in this case insisting they should get to question

first because they subpoenaed the deposition first, and the law firm representing Plaintiff in this case

arguing that the equities favored Plaintiff questioning first; Defendants’ counsel prevailed); Group Ex.

3, Rivera v. Guevara, No. 1:12-cv-04428 (N.D. Ill.) (Dkt. 51 & Trans. of March. 13, 2013 Hrg.) (the law

firms representing the Defendants in this case insisting they should get to question first because they

subpoenaed the deposition first, Plaintiff’s counsel in this case arguing that the equities favored

Plaintiff questioning first; Plaintiffs’ counsel prevailed); Group Ex. 2, Walker v. Burge, et al., No. 21 C

4231 (N.D. Ill.) (Dkts. 222 & 223) (Defendants’ law firm insisting they should get to question first

because they communicated an intention to take the deposition first, and Plaintiff’s law firm arguing

that the equities favored Plaintiff questioning first; Plaintiff’s counsel prevailed). This history between

counsel merely highlights two points: (1) because counsel for the Guevara plaintiffs and the Guevara

defendants have argued that service should be the primary factor in deciding which party gets to

question a witness first, as Plaintiffs proposed here, Plaintiffs should get to question these witnesses

first; and (2) even applying the equities, Plaintiffs should get to question these witnesses first.

   III. Defendants’ proposals are not workable.


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        Defendants at one point insisted that the parties simply engage in a back and forth “draft” to

pick witnesses; this proposal prejudices Plaintiffs and is unfair. As discussed above, such a process

does not follow any of the aforementioned frameworks, and instead throws them all out the window

in favor of a tit-for-tat process that will inevitably result in Defendants being able to take depositions

first of witnesses that Plaintiff served first, and for whom the equities strongly favor Plaintiffs being

able to question first. Plaintiffs prioritized for depositions and move here only with regard to nine

third-party witnesses that they intend to call in their case-in-chief. They are all appropriately questioned

first by Plaintiffs. Defendants’ draft proposal would have allowed Defendants to inevitably ask

questions first of witnesses critical to Plaintiff’s prosecution that are out of state or are otherwise likely

to be unavailable at trial (e.g., Nancy Gonzalez and Fred Rock), which would irredeemably prejudice

Plaintiffs in presenting their case to the jury.

        Defendants’ proposed draft also presupposes that each side would take the same number of

depositions, but in these wrongful conviction cases plaintiffs almost always take more depositions

because they have the burden of proof and are the ones who need to develop evidence of

constitutional misconduct. There are also many categories of witnesses over whom the parties almost

never have disputes: for example, defense counsel has historically agreed that plaintiffs can go first

with third-party officers with limited involvement in the homicide investigation, and plaintiffs have

historically agreed that defendants can go first with defense attorneys and damages witnesses. A draft

would merely create more opportunity for gamesmanship. In any event, the Guevara defendants

ultimately abandoned this proposal during the parties’ conferrals.

        To the extent Defendants wanted to exchange lists and make trades, the Guevara plaintiffs

tried that too, over two months, but it did not result in an agreement. In fact, the Guevara plaintiffs’

final offer gave the defendants four witnesses they had served and noticed first, in exchange for just

two witnesses defendants had noticed (but not served) first; that offer was rejected. Looking at just


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this case, Plaintiffs agreed to a compromise in which, of the four witnesses they had served and noticed

first, that Defendants had indicated that they wanted to question first, they would simply give

Defendants two of them: Jondalyn Fields and Nelson Pacheco. In addition, Defendants could go first

with all five witnesses they had noticed first, even though it was without service. So, Plaintiffs’ offer

would have given each side seven witnesses. Nevertheless, Defendants refused that compromise. They

have repeatedly moved the goalposts, and ultimately rejected every compromise offered. 5

        It also bears mentioning: the approach Plaintiffs have taken is measured and allows each party

to identify critical witnesses and pursue their depositions. Plaintiffs did not go out and serve everyone,

or insist they should go first with every critical witness. Likewise, Plaintiffs did not serve and notice

these depositions minutes after the start of discovery, but weeks later, over a period of several weeks

during which Defendants had every opportunity to do the same thing. 6 Plaintiffs identified a set of

key witnesses that they felt were critical to their case (and did not simply notice up others that they

wanted to take, but that they could not yet locate for service), and left many other important witnesses

in the case that could be served by Defendants if they chose (and indeed, Defendants immediately

noticed a number of depositions as soon as they received Plaintiffs’ notices and proofs of service).

    IV. Defendants should not be permitted to indefinitely delay depositions.
        Plaintiffs are also concerned that this dispute has become a process of endless delay. Plaintiffs

noticed these depositions in August 2023. When Defendants objected, Plaintiffs agreed to confer but

repeatedly requested that the process move expeditiously so depositions would not be delayed.

Instead, the process has now dragged on for more than three months, as Defendants have



5 That offer remains on the table, and in Plaintiffs’ view a fair compromise that should resolve this motion so
the parties can proceed with depositions without further delay.
6 Defendants will likely argue that several weeks passed from the time that Plaintiffs served subpoenas on some

of the witnesses, to the time Plaintiffs issued a notice for those witnesses, in some cases resulting in the notice
going out after the return date on the subpoena. This is true, but it is of no moment: Plaintiffs made clear that
the return dates on the subpoenas were mere placeholders, and that Plaintiffs would of course work with
Defendants on identifying mutually agreeable dates, as the parties have always done in these cases.

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continuously moved the goalposts during the conferral process, preventing the narrowing of disputes

but ensuring additional delay. Now, Defendants insist that even when this dispute is resolved, they

will not agree to dates for any depositions to proceed while various third-party subpoenas are pending.

There is no basis for this sequencing of depositions after Defendants unilaterally decide they are

satisfied that they have all the documents they want—particularly when Defendants have had the

opportunity to pursue subpoenas for months.

        “Unless the parties stipulate or the court orders otherwise for the parties’ and witnesses’

convenience and in the interest of justice: (A) methods of discovery may be used in any sequence; and

(B) discovery by one party does not require any other party to delay its discovery.” Fed. R. Civ. P.

26(d)(3). Plaintiffs are of course willing to work with Defendants on scheduling, and Plaintiffs assume

Defendants will want Plaintiffs’ prison files, medical records, and other documents before they take

Plaintiffs’ depositions, which Plaintiffs will, of course, accommodate. But there is no basis to put off

the depositions of third-party witnesses. The fact discovery deadline is May 31, 2024. Plaintiffs have

produced the entire set of post-conviction documents in their possession months ago, including entire

criminal trial transcripts, police reports, and witness statements. The City has produced its homicide

investigation files. There is no reason depositions of third parties cannot proceed. If Defendants had

certain documents they wanted via third-party subpoenas, they could have issued those subpoenas

many months ago. Instead, Defendants continue to issue new subpoenas as recently as the last few

weeks, and now insist they want answers to those subpoenas before depositions go forward. Because

of this dispute, no depositions have yet occurred. There is much to do, and we should get started now.

                                          CONCLUSION
        For the reasons set forth above, Plaintiffs request that the Court compel Defendants to comply

with the deposition subpoenas Plaintiffs have served and noticed, permit Plaintiffs to question those

witnesses first, and promptly provide dates on which those depositions can proceed.


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                                                Respectfully submitted,

                                                /s/ Anand Swaminathan
                                                One of Plaintiffs’ Attorneys

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                                 CERTIFICATE OF SERVICE

       The undersigned, an attorney, certify that on December 6, 2023, I served the foregoing Motion
to Compel Defendants to Proceed with Third Party Depositions using the Court’s CM/ECF system,
which effected service on all counsel of record.

                                                     /s/Anand Swaminathan
                                                     One of Plaintiffs’ Attorneys




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